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   10                          UNITED STATES DISTRICT COURT

   11                        CENTRAL DISTRICT OF CALIFORNIA
   12
                                                      Case No. 2:15-cv-3378-JFW (MRWx)
   13 GOLDEN BOY PROMOTIONS,
      LLC, et al.,                                    EXCERPTED DEPOSITION
   14                                                 TESTIMONY OF GENE DEETZ
                   Plaintiffs,                        SUPPORTING DEFENDANT ALAN
   15                                                 HAYMON’S MOTION FOR
                                                      SUMMARY JUDGMENT
   16         v.
   17
         ALAN HAYMON, et al.,                         Hearing Date: November 28, 2016
   18                                                 Time: 1:30 p.m.
                      Defendants.                     Judge: Hon. John F. Walter
   19                                                 Trial Date: March 14, 2017
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                                                  -1-             Case No. 2:15-cv-3378-JFW (MRWx)
                   EXCERPTED DEPOSITION TESTIMONY OF GENE DEETZ SUPPORTING ALAN HAYMON’S MSJ
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     1         EXCERPTED DEPOSITION TESTIMONY OF GENE DEETZ
     2
     3        28:17-21
     4        28:17        Q. UH-HUH. NOW, HAD YOU EVER, BEFORE
     5        28:18 THIS CASE, HEARD THE TERM "CHAMPIONSHIP-CALIBER
     6        28:19 BOXER"?
     7        28:20        A. TO THE BEST OF MY RECOLLECTION, I HAVE
     8        28:21 NOT.
     9
   10
   11         Respectfully submitted,
   12
         DATE: October 31, 2016             By: /s/ Barry H. Berke
   13                                          Barry H. Berke
   14                                          Attorney for Defendant Alan Haymon
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                                               -2-             Case No. 2:15-cv-3378-JFW (MRWx)
                EXCERPTED DEPOSITION TESTIMONY OF GENE DEETZ SUPPORTING ALAN HAYMON’S MSJ
